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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



HERMAN PAUL CUMBY, and
G. CUMBY
               Plaintiffs
                                                           C.A. NO.: 3:18-cv-30049
v.

CITY OF SPRINGFIELD, SPRINGFIELD
POLICE DEPARTMENT, OFFICER
DANIEL BILLINGSLEY, OFFICER ANTHONY
CICERO, OFFICER CHRISTIAN CICERO,
OFFICER IGOR BASOVSKIY, OFFICER
DARREN NGUYEN, OFFICER SHAVONNE
LEWIS, OFFICER MELISSA RODRIGUEZ,
OFFICER JAMES D’AMORE, OFFICER
JEREMY RIVAS, OFFICER DERRICK
GENTRY-MITCHELL, OFFICER JOSE DIAZ,
OFFICER NATHANIEL PEREZ, OFFICER
JOHN WAJDULA, OFFICERS JOHN DOE 1
through 10, SGT. LOUIS BARTOLUCCI, LT.
JESSICA HENDERSON, LT. NORMAN
CHAREST, CPT. TRENT DUDA,
COMMISSIONER JOHN BARBIERI

                       Defendants



                          STIPULTATION OF DISMISSAL WITH PREJUDICE

       The parties in the above-entitled action, pursuant to the provisions of Federal R. Civ. P.

 41(a)(1)(ii), hereby stipulate that said action be dismissed with prejudice and without interest, costs or

 award of attorneys’ fees and with all rights of appeal involving the Releasees waived.
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                                        Respectfully submitted,
                                        The Defendants,

                                        City of Springfield, Springfield Police
                                        Department, Officer Daniel Billingsley,
                                        Officer Anthony Cicero, Officer Christian
                                        Cicero, Officer Igor Basovskiy,
                                        Officer Darren Nguyen, Officer Shavonne
                                        Lewis, Officer Melissa Rodriguez,
                                        Officer James D’Amour, Officer Jeremy
                                        Rivas, Officer Derrick Gentry-Mitchell,
                                        Officer Jose Diaz, Officer Nathaniel Perez,
                                        Officer John Wajdula, Sgt. Louis Bortolucci,
                                        Lt. Jessica Henderson, Lt. Norman Charest,
                                        Cpt. Trent Duda and Commissioner John
                                        Barbieri

                                        By their attorneys,

Dated: November 13, 2018                 /s/ Kathleen E. Sheehan
                                        Kathleeen E. Sheehan, Esq., BBO#456910
                                        Lisa C. deSousa, Esq. BBO#546115
                                        Edward M. Pikula, Esq. BBO#399770
                                        City of Springfield Law Department
                                        1600 East Columbus Ave., 2nd Floor
                                        Springfield, MA 01103
                                        Phone: (413) 787-6654
                                        Fax: (413) 750-2363
                                        ksheehan@springfieldcityhall.com
                                        ldesousa@springfieldcityhall.com
                                        epikula@springfieldcityhall.com


                                        Respectfully submitted,
                                        The Plaintiffs,
                                        By their attorney,


Dated: November 12, 2018                 /s/ Michelle S. Cruz
                                        Michelle S. Cruz, Esq., BBO#651081
                                        35 Center Street, Suite 35
                                        Chicopee, MA 01103
                                        Phone: (413) 592-9400
                                        Cruz4law@gmail.com
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the within Stipulation of Dismissal

was this day served upon Plaintiff via the Federal Court’s ECF Notice and delivery System. I am

not aware of any party who is a non-registered participant, and therefore electronic filing is the

sole means of service of this document.


SIGNED under the pains and penalties of perjury.


Dated: November 13, 2018                              /s/ Kathleen E. Sheehan
                                                      Kathleen E. Sheehan, Esq.
